Case 23-01092-MBK       Doc 158    Filed 06/02/23 Entered 06/02/23 00:44:01       Desc Main
                                  Document     Page 1 of 4



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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

  In re:                                        )
                                                )   Chapter 11
           LTL MANAGEMENT LLC,                  )
                                                )   Adv. Pro. Case 23-01092-MBK
           Debtor.                              )

     MRHFM’S OBJECTION TO DEBTOR’S MOTION FOR A BRIDGE ORDER
    CONFIRMING THE AUTOMATIC STAY APPLIES TO CERTAIN ACTIONS
  ASSERTED AGAINST AFFILIATES OR TEMPORARILY EXTENDING THE STAY
   AND PRELIMINARY INJUNCTION TO SUCH ACTIONS PENDING A FINAL
                 HEARING ON THE REQUESTED RELIEF

       Bad faith Two Step debtors are adept at playing the victim no matter the

 circumstance. Several cancer plaintiffs sued non-debtor Johnson & Johnson affiliates

 Janssen and Kenvue (“Affiliates”) in New Jersey state court. The New Jersey state court

 judge denied the Affiliates’ motion to dismiss applying New Jersey law and ordered




                                               1
Case 23-01092-MBK      Doc 158    Filed 06/02/23 Entered 06/02/23 00:44:01         Desc Main
                                 Document     Page 2 of 4



 “apex depositions” of Kenvue’s and Janssen’s executives. See Debtor Letter, 6/1/23, pgs.

 1-2, Adv. Pro. Dkt. 153.

        As set forth in Mr. Placitella’s submission (Adv. Pro. Dkt. 151), which MRHFM

 joins (as well as the TCC’s Objection, Dkt. 157), the Debtor’s bridge motion concerns state

 law discovery issues that have either been decided, or are currently in the process of being

 decided, by the New Jersey judge (Hon. Ana C. Viscomi, J.S.C.). Indeed, the Debtor

 justifies its request to shorten time because it anticipates Judge Viscomi “may imminently

 issue an order requiring the commencement of discovery.” Dkt. 151.

        So what? The Debtor’s illusory justifications to impose the bridge order do not

 warrant the extraordinary relief accorded here, especially on such short notice. This

 Court’s preliminary injunction order neither enjoined nor restrained parties from

 commencing or proceeding with discovery or other pretrial matters against protected

 parties, including Johnson & Johnson, outside of bankruptcy. So, even if Janssen and

 Kenvue were accorded Protected Party status under the preliminary injunction—and

 they have not been—the plaintiffs are free to proceed with any discovery permitted by

 Judge Viscomi.

        In a show of typical hypocrisy, the Debtor complains of the “unnecessary and

 abusive discovery contemplated” by the plaintiffs in these New Jersey actions. Id., pg. 8.

 All while LTL moves to compel several plaintiff’s firms to provide irrelevant information
                                              2
Case 23-01092-MBK            Doc 158      Filed 06/02/23 Entered 06/02/23 00:44:01                     Desc Main
                                         Document     Page 3 of 4



 in this case. The Debtor says it’s “imperative” for this Court to disregard Judge Viscomi’s

 rulings—and do so on 36 hours’ notice—to stop the discovery of the non-debtor

 Affiliates. See Debtor Mot., pgs. 6-7, Adv. Pro. Dkt. 147-1.See Debtor Mot. Compel, Dkt.

 638-1.1

           The Debtor is wrong. Discovery and litigation against non-debtor Affiliates are

 permitted under this Court’s preliminary injunction ruling. And, as the TCC notes (Dkt.

 152), the Court has scheduled a hearing on the continuation of the preliminary injunction

 for June 13, 2023. Id. These issues can be addressed then, or not at all.

 Respectfully submitted:

 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC




 __________________________
 Clayton L. Thompson, Esq.
 MAUNE RAICHLE HARTLEY




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   Yes, the Debtor’s financial distress is relevant to the motion to dismiss. Yes, the fact that LTL can pay all
 claims in full inside or outside of bankruptcy is relevant to the motion to dismiss. Yes, the fact that LTL
 can’t say what its total liabilities are as of April 4th is relevant to the motion to dismiss. Here’s what’s not
 relevant: what some plaintiff’s lawyers think the Debtor’s total liabilities are. Total liability is an irrelevant
 fiction in a bogus billionaire “bankruptcy” like this one. Estimating total liabilities is done out of necessity
 when there is a concern about paying different types of creditors fairly from a limited pool of assets. That’s
 not this case.


                                                         3
Case 23-01092-MBK      Doc 158    Filed 06/02/23 Entered 06/02/23 00:44:01   Desc Main
                                 Document     Page 4 of 4



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                                            4
